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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 LAQUITA OLIVER, et al.,                              )
                                                      )
                Plaintiffs,                           )
                                                      )
         v.                                           )       1:23-cv-1731 (LMB/WEF)
                                                      )
 NAVY FEDERAL CREDIT UNION,                           )
                                                      )
                Defendant.                            )

                                             ORDER

       Before the Court is the parties' Joint Motion for Entry of an Order Scheduling a Rule 16

Pretrial Conference. [Dkt. No. 55] ("Joint Motion"). Having considered the parties' request, and

for good cause shown, the Joint Motion, [Dkt. No. 55], is GRANTED IN PART, and it is hereby

       ORDERED that the Clerk schedule a pretrial conference pursuant to Fed. R. Civ. P. 16 in

this civil action for Wednesday, April 24, 2024 at 11 :00 a.m. before the assigned magistrate

judge. The Court will enter a scheduling order at a future date.

       The Clerk is directed to forward copies of this Order to counsel of record.
                         Si
       Entered this cP../ day of February, 2024.

Alexandria, Virginia




                                                                          Isl
                                                           Leonie M. Brink a
                                                           United States District Judge
